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                             United States Court of Appeals
                                               District of Columbia Circuit
                                      E. Barrett Prettyman United States Courthouse
                                             333 Constitution Avenue N.W.
                                              Washington, D.C. 20001-2866


    Mark J. Langer                                                                            General Information
    Clerk                                         December 11, 2017                              (202) 216-7000


          Clerk
          United States District Court for the Southern District of Florida
          Wilkie D. Ferguson, Jr., U.S. Courthouse
          400 North Miami Avenue
          Miami, FL 33128

                     Re:   12-1341, Ramon Lopez v. PRC

          Dear Clerk of Court:

                 Pursuant to the judgment of this court filed December 11, 2017, a copy of which
          is enclosed, we are transmitting forthwith the court's original file in electronic format.

                 Please acknowledge receipt of the transferred file by sending a confirmation
          email to dcnoa@cadc.uscourts.gov.

                                                                         Sincerely yours,


                                                                BY:      /s/
                                                                         Michael C. McGrail
                                                                         Deputy Clerk



          Enclosures




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                            United States Court of Appeals
                                     FOR THE DISTRICT OF COLUMBIA CIRCUIT




         No. 12-1341                                                   September Term, 2017
                                                                       FILED ON: DECEMBER 11, 2017
         RAMON LOPEZ,
                                PETITIONER

         v.

         POSTAL REGULATORY COMMISSION,
                           RESPONDENT


                                        On Petition for Review of an Order
                                       of the Postal Regulatory Commission


                Before: ROGERS, KAVANAUGH, and WILKINS, Circuit Judges.

                                                 JUDGMENT

                 This petition for review of a decision of the Postal Regulatory Commission (“PRC” or
         “Commission”) was briefed and argued by counsel for the Commission and appointed amicus
         curiae for Petitioner Ramon Lopez. The Court has afforded the issues full consideration and has
         determined that they do not warrant a published opinion. See D.C. CIR. R. 36(d). It is

              ORDERED AND ADJUDGED that Lopez’s petition for an order directing the Postal
         Service to restore mail service to Lopez’s address be dismissed as moot and his damages claim
         be transferred to the District Court for the Southern District of Florida.

                In 2011, Lopez submitted an administrative complaint to the PRC pursuant to 39 U.S.C.
         § 3662, alleging that the Postal Service had wrongly suspended mail delivery to his home in
         Florida. A. 2. Lopez also asserted that the Postal Service’s failure to deliver mail to that address
         prevented him from receiving utility bills and caused him to incur unnecessary expenses. Id. In
         his complaint, Lopez requested two forms of relief: (1) an order directing the Postal Service “to
         immediate[ly] restore mail service” to his home address and (2) an order directing the Postal
         Service to pay Lopez at least $2,500 in compensatory damages and filing costs. A. 3. In
         accordance with its regulations, the Commission construed Lopez’s complaint as a service
         inquiry and forwarded it to the Postal Service for investigation. See 39 C.F.R. § 3030.13. The
         Commission ultimately dismissed Lopez’s complaint as moot after the Postal Service
         represented that it would resume delivery to his house, and subsequently did so. A. 44-45, 50.
                                                          1




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         The Commission also concluded that 28 U.S.C. § 2680(b) barred Lopez’s demand for
         compensatory damages, and thus denied his claim. Petitioner now asks us to find that the
         Commission acted arbitrarily and capriciously by dismissing his request as moot. He also asks
         this Court to sever his damages claim and transfer it to the District Court for the Southern
         District or Middle District of Florida, pursuant to 28 U.S.C. § 1631. See 28 U.S.C. §1346(b)(1).
         The Court addresses each issue in turn below.

                 Lopez first argues that the Commission erred by dismissing his complaint as moot
         because dismissal was based on the Postal Service’s voluntary cessation of its allegedly wrongful
         conduct, which “ordinarily does not suffice to moot a case.” Friends of the Earth, Inc. v.
         Laidlaw Envtl. Servs. (TOC), Inc., 528 U.S. 167, 174 (2000). In response, the Commission
         contends that, as an executive agency, it is not bound by the voluntary-cessation exception to the
         mootness doctrine and therefore properly dismissed Lopez’s first claim for relief, relying on the
         Postal Service’s representation that it would resume mail service.

                 The Court need not decide whether an agency must apply the voluntary-cessation
         doctrine: Even assuming Article III standards apply, Lopez can show no injury in light of the
         restoration of his mail service. Pharmachemie B.V. v. Barr Labs., Inc., 276 F.3d 627, 631 (D.C.
         Cir. 2002) (“A case is moot if events have so transpired that the decision will neither presently
         affect the parties’ rights nor have a more-than-speculative chance of affecting them in the
         future.” (citation and internal quotation marks omitted)). Even if the Court were to hold that the
         Commission should have issued an order directing the Postal Service to immediately restore mail
         service to Lopez’s Florida address, that decision would provide Lopez no relief because the
         Postal Service has already resumed mail service as requested.

                  Nevertheless, Petitioner and amicus curiae argue that concerns about voluntary cessation
         render this case ripe for review. The Court does not agree. The voluntary cessation of allegedly
         illegal conduct does not necessarily deprive a court of jurisdiction, but the voluntary cessation of
         conduct will render a case moot if “there is no reasonable expectation that the alleged violation
         will recur,” and intervening events have eradicated the effects of the alleged violation. Cty. of
         Los Angeles v. Davis, 440 U.S. 625, 631 (1979) (internal citations, quotation marks, and
         alteration omitted). The facts in this case do not fit within the voluntary-cessation exception. In
         its April 2012 letter to Lopez, the Postal Service stated that it would “resume delivery to
         [Lopez’s Florida address] effective immediately,” and “will continue to deliver mail to that
         address indefinitely,” unless there are clear indications that the property is vacant (such as
         accumulation of the mail outside the house). A. 44. Although Lopez and amicus curiae assert
         that the allegedly wrongful conduct could recur, particularly because the conduct was allegedly
         motivated by discrimination against Lopez, the Postal Service has stated only that it reserves the
         right to take future action that it is legitimately empowered to take. See id. (citing U.S. Postal
         Serv., Regulation Handbook, M-41, City Delivery Carriers Duties & Resps., § 241.15 (2001)).
         Accordingly, the Court will dismiss as moot Lopez’s petition for an order directing the Postal
         Service to restore mail service to his address.

                Lopez next argues that neither the Commission nor this Court has jurisdiction to address

                                                          2




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         his damages claim. For this reason, Lopez and amicus curiae ask the Court to transfer the claim
         to the District Court for the Southern or Middle District of Florida, pursuant to 28 U.S.C. § 1631.
         While the Commission agrees with Lopez on the jurisdictional question, it nonetheless urges this
         Court to deny Lopez’s damages claim rather than transfer it for review by a district court. The
         Court agrees that it does not have jurisdiction to decide the issue. See 28 U.S.C. § 1346(b)(1)
         (establishing “exclusive jurisdiction” over certain civil claims against the U.S. government in the
         district court). We must next decide whether to transfer or deny Lopez’s damages claim.

                  Section 1631 provides:

                  Whenever a civil action is filed in a court as defined in section 610 of this title or
                  an appeal, including a petition for review of administrative action, is noticed for or
                  filed with such a court and that court finds that there is a want of jurisdiction, the
                  court shall, if it is in the interest of justice, transfer such action or appeal to any
                  other such court in which the action or appeal could have been brought at the time
                  it was filed or noticed, and the action or appeal shall proceed as if it had been filed
                  in or noticed for the court to which it is transferred on the date upon which it was
                  actually filed in or noticed for the court from which it is transferred.

         28 U.S.C. § 1631 (emphasis added). The Commission contends that transfer is not warranted for
         three reasons: (1) Lopez’s claim is barred by the Federal Tort Claims Act (“FTCA”)’s postal
         exception, 28 U.S.C. § 2680(b); (2) even if the claim were not barred, Lopez has not established
         that Florida law would permit Lopez to recover the damages sought; and (3) the claim suffers
         from two fatal defects – Lopez did not sue the correct party and failed to satisfy the FTCA’s
         presentment requirement. The Commission asserts that because Lopez’s damages claim is
         barred on these grounds, transfer would not be “in the interest of justice.” 28 U.S.C. § 1631.
         Because each of the Commission’s arguments fails, the Court cannot agree that transfer is
         inappropriate here.

                First, Lopez’s damages claim is not plainly barred by the FTCA’s postal exception, 1 as
         evidenced by the fact that several courts have found that the Postal Service is not entitled to
         sovereign immunity for the intentional mis-transmission of mail. See, e.g., Colbert v. USPS, 831
         F. Supp. 2d 240, 243 (D.D.C. 2011) (“In th[e] narrow window of intentional mis-transmission,
         [the Postal Service] is not entitled to sovereign immunity.”); LeRoy v. U.S. Marshal’s Serv., No.
         06-cv-11379, 2007 WL 4234127, at *1 n.2 (E.D. La. Nov. 28, 2007) (noting that a postal
         employee’s “refusal to deliver plaintiff’s mail to him was an intentional act, not “‘the loss,

         1
           Pursuant to 28 U.S.C. § 2680(b), the FTCA’s waiver of sovereign immunity does not apply to claims “arising out
         of the loss, miscarriage or negligent transmission of letters or postal matter.” “[M]ail is ‘lost’ if it is destroyed or
         misplaced[.]” Dolan v. USPS, 546 U.S. 481, 487 (2006). Mail is also “lost” if it is stolen by a postal employee.
         See, e.g., Levasseur v. USPS, 543 F.3d 23, 24 (1st Cir. 2008). “[M]ail is . . . ‘miscarried’ if it goes to the wrong
         address.” Dolan, 546 U.S. at 487. Mail is “negligently transmitted” when the Postal Service commits negligence
         during and related to “the process of conveying [letters or postal matter] from one person to another, starting when
         the USPS receives the letter or postal matter and ending when the USPS delivers the letter or postal matter.” Dolan
         v. USPS, 377 F.3d 285, 288 (3d Cir. 2004), rev’d on other grounds, 546 U.S. 481 (2006).

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         miscarriage, or negligent transmission of letters or postal matter’”) (quoting 28 U.S.C. §
         2680(b))). Thus, although Lopez does not specify that his claim arises out of an intentional mis-
         transmission of his mail, if it did – which is plausible – Lopez’s claim may be viable.

                 Second, although the Court agrees with Petitioner and amicus curiae that the question of
         whether Florida law provides a legal basis for the damages sought is better left for the transferee
         court to resolve, Lopez has made an adequate showing that Florida law plausibly would provide
         a remedy. See Amicus for Pet’r’s Reply 23. For instance, amicus curiae notes that, under
         Florida law, an individual may bring conversion claims against or seek damages from mail
         carriers that intentionally fail to deliver her mail. Id. Thus, the Commission’s argument on this
         point is unpersuasive.

                 Finally, the procedural defects the Commission identifies are insufficient to warrant
         dismissal of Lopez’s damages claim. While the Commission is correct that Lopez has not sued
         the correct party – i.e., he has sued the Commission rather than the United States – we decline to
         find this defect fatal, particularly when the case involves a pro se litigant. See Richardson v.
         United States, 193 F.3d 545, 548 (D.C. Cir. 1999) (“Courts must construe pro se filings
         liberally.”). In addition, we cannot agree that Lopez has failed to satisfy the FTCA’s
         presentment requirement. See 28 U.S.C. § 2675. Pursuant to section 2675, Lopez filed a claim
         with the Commission that sufficiently described his injury and included a sum-certain damages
         claim. GAF Corp. v. United States, 818 F.2d 901, 917 (D.C. Cir. 1987) (describing the
         presentment requirement); see A. 2-3 (Lopez’s written complaint). That Lopez presented his
         demand as a claim for relief under the Postal Accountability and Enhancement Act is of no
         relevance given Lopez’s status as a pro se litigant and because it was clear what relief Lopez
         sought.

                 For these reasons, the Court declines to dismiss Lopez’s damages claim, and instead will
         transfer the claim to the District Court for the Southern District of Florida. 2

                 Pursuant to D.C. Circuit Rule 36, this disposition will not be published. The Clerk is
         directed to transmit a copy of this judgment and the portion of the original file pertaining to
         Petitioner’s damages claim to the United States District Court for the Southern District of
         Florida. The Clerk is further directed to withhold issuance of the mandate with respect to
         Petitioner’s restoration of mail service claim until seven days after the resolution of any timely
         petition for rehearing or petition for rehearing en banc. See FED. R. APP. P. 41(b); D.C. CIR. R.
         41(a)(1).

                                                          PER CURIAM

         2
           FTCA claims may be brought “only in the judicial district where the plaintiff resides or wherein the act or
         omission complained of occurred.” 28 U.S.C. § 1402(b). Amicus curiae correctly states that venue would thus be
         proper in either the Southern District of Florida, where the property at issue is located, or the Middle District of
         Florida, where Lopez is currently incarcerated. Because Petitioner has not indicated a preference, the Court opts to
         transfer the claim to the Southern District of Florida because that is where the acts on which Lopez’s claim is based
         occurred.
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                                                       FOR THE COURT:
                                                       Mark J. Langer, Clerk

                                                 BY:   /s/
                                                       Michael C. McGrail
                                                       Deputy Clerk




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                                                   General Docket
                           United States Court of Appeals for District of Columbia Circuit
Court of Appeals Docket #: 12−1341                                                              Docketed: 08/03/2012
Ramon Lopez v. PRC                                                                               Termed: 12/11/2017
Appeal From: Postal Regulatory Commission
Fee Status: IFP Fee Assesed
Case Type Information:
  1) Petition for Review
  2) Review
  3)
Originating Court Information:
  District: PRC−1 : PRC−C2011−5
Current Cases:
  None
Panel Assignment:
  Panel: JWR BMK RLW
  Date of Hearing: 10/03/2017     Date of Decision: 12/11/2017     Date Completed: 12/11/2017




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Ramon Lopez (Fed Reg No 42004−004)                       Ramon Lopez
                      Petitioner                         [NTC Pro Se]
                                                         United States Penitentiary
                                                         Coleman I
                                                         Firm: 352−689−6000
                                                         PO Box 1023
                                                         Coleman, FL 33521−1023

                                                         Warden (Coleman I)
                                                         [NTC −]
                                                         United States Penitentiary
                                                         Coleman I
                                                         Firm: 352−689−6000
                                                         PO Box 1023
                                                         Coleman, FL 33521−1023
           v.


Postal Regulatory Commission                             Michael S. Raab, Attorney
                       Respondent                        Email: michael.raab@usdoj.gov
                                                         [COR LD NTC Gvt US DOJ]
                                                         U.S. Department of Justice
                                                         (DOJ) Civil Division, Appellate Staff
                                                         Firm: 202−514−2000
                                                         950 Pennsylvania Avenue, NW
                                                         Washington, DC 20530−0001

                                                         Jeffrey Eric Sandberg, Attorney
                                                         Email: jeffrey.e.sandberg@usdoj.gov
                                                         [COR LD NTC Gvt US DOJ]
                                                         U.S. Department of Justice
                                                         (DOJ) Civil Division, Appellate Staff
                                                         Firm: 202−514−2000
                                                         950 Pennsylvania Avenue, NW
                                                         Washington, DC 20530−0001

                                                         Stephen Leo Sharfman, Esquire, General Counsel
                                                         Terminated: 08/06/2014
                                                         Direct: 202−789−6820
                                                         Email: stephen.sharfman@prc.gov
                                                         Fax: 202−789−6861
                                                         [COR LD NTC Gvt US Agency]
                                                         Postal Regulatory Commission
                                                         (PRC)
                                                         Firm: 202−789−6800
                                                         901 New York Avenue, NW
                                                         Suite 200
                                                         Washington, DC 20268−0001

                                                         David Alan Trissell
                                                         Direct: 202−789−6818
                                                         Email: david.trissell@prc.gov

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                                                               Postal Regulatory Commission
                                                               (PRC)
                                                               Firm: 202−789−6800
                                                               901 New York Avenue, NW
                                                               Suite 200
                                                               Washington, DC 20268−0001

                                                               Sonia M. Carson, Attorney
                                                               Email: sonia.m.carson@usdoj.gov
                                                               [COR NTC Gvt US DOJ]
                                                               U.S. Department of Justice
                                                               (DOJ) Civil Division, Appellate Staff
                                                               Firm: 202−514−2000
                                                               950 Pennsylvania Avenue, NW
                                                               Washington, DC 20530−0001

                                                               Robert Noah Sidman
                                                               Terminated: 05/19/2015
                                                               Direct: 202−789−6820
                                                               Email: rsidman@cftc.gov
                                                               [COR NTC Retained]
                                                               Postal Regulatory Commission
                                                               (PRC)
                                                               Firm: 202−789−6800
                                                               901 New York Avenue, NW
                                                               Suite 200
                                                               Washington, DC 20268−0001
−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−


Brooks R. Brown                                                Brooks R. Brown, Attorney
                      Appointed Amicus Curiae for Petitioner   Direct: 202−346−4000
                                                               Email: bbrown@goodwinprocter.com
                                                               Fax: 202−346−4444
                                                               [COR LD NTC Appointed Amicus]
                                                               Goodwin Procter LLP
                                                               Firm: 202−346−4000
                                                               901 New York Avenue, NW
                                                               Washington, DC 20001−4413

                                                               Brian Timothy Burgess, Esquire
                                                               Direct: 202−346−4000
                                                               Email: bburgess@goodwinlaw.com
                                                               [COR LD NTC Appointed Amicus]
                                                               Goodwin Procter LLP
                                                               Firm: 202−346−4000
                                                               901 New York Avenue, NW
                                                               Washington, DC 20001−4413




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Ramon Lopez,

                       Petitioner

           v.

Postal Regulatory Commission,

                       Respondent

−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−

Brooks R. Brown,

                       Appointed Amicus Curiae for Petitioner




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   CaseRamon
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              Lopez v. PRC Document 102 Entered on FLSD Docket 06/11/2018 Page 11 of 18
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08/03/2012       PETITION FOR REVIEW CASE docketed. [12−1341] [Entered: 08/10/2012 01:02 PM]

08/03/2012       PETITION FOR REVIEW filed [1388605] by Ramon Lopez of a decision by federal agency [Service
                 Date: 08/10/2012 ] Disclosure Statement: Not Applicable to this Party; Certificate of Parties: Not
                 Applicable to this Filing. [12−1341] [Entered: 08/10/2012 01:03 PM]
08/10/2012       CERTIFIED COPY [1388619] of Petition for Review sent to respondent [1388605−2] [12−1341]
                 [Entered: 08/10/2012 01:35 PM]
08/20/2012       CLERK'S ORDER filed [1390021] directing party to file payment of docketing fee PETITIONER
                 payment of docketing fee due 09/19/2012; directing party to file motion to proceed on appeal in forma
                 pauperis. PETITIONER motion to proceed IFP in this court due 09/19/2012; directing party to file ifp
                 prisoner submissions: PETITIONER prisoner trust account report due 09/19/2012. PETITIONER
                 consent to collection form due 09/19/2012. Failure to respond shall result in dismissal of the case for
                 lack of prosecution. The Clerk is directed to send this order to petitioner by whatever means necessary to
                 ensure receipt. [12−1341] [Entered: 08/20/2012 10:36 AM]
08/20/2012       LETTER SENT [1390042] to warden sending Clerk order of docketing fee payment[1390021−2] .
                 Prisoner acknowledgment of receipt from Warden due 09/19/2012 [12−1341] [Entered: 08/20/2012
                 11:05 AM]
08/28/2012       ENTRY OF APPEARANCE filed [1391794] by Jeffrey E. Sandberg and co−counsel Michael S. Raab,
                 Stephen L. Sharfman, and R. Brian Corcoran on behalf of Respondent PRC. [12−1341] (Sandberg,
                 Jeffrey) [Entered: 08/28/2012 05:02 PM]
09/17/2012       MOTION filed [1395822] by Ramon Lopez for leave to pay the filing fees for this case on sequential
                 mode. (Response to Motion served by mail due on 10/04/2012) [Service Date: 09/21/2012 by CM/ECF
                 NDA, Clerk] Pages: 1−10. [12−1341]−−[Edited 04/29/2016 by AY−−WITHDRAWN BY 04/28/16
                 CLERK ORDER] [Entered: 09/21/2012 12:00 PM]
09/17/2012       PRISONER TRUST ACCOUNT REPORT FILED [1395823] by Ramon Lopez [12−1341] [Entered:
                 09/21/2012 12:01 PM]
09/17/2012       PRISONER CONSENT to COLLECTION FILED [1395824] by Ramon Lopez [12−1341] [Entered:
                 09/21/2012 12:02 PM]
09/17/2012       MOTION filed [1395825] by Ramon Lopez to proceed on appeal in forma pauperis [Case Number
                 12−1341: IFP Pending USCA] [Service Date: 09/21/2012 ] Pages: 1−10. [12−1341] [Entered:
                 09/21/2012 12:06 PM]
09/18/2012       RECEIPT [1395190] RECEIVED from Ramon Lopez [signed for on 08/29/2012] for documents
                 [1390042−2] sent to Petitioner Ramon Lopez [12−1341] [Entered: 09/19/2012 10:34 AM]
10/04/2012       RESPONSE IN OPPOSITION FILED [1398118] by PRC to motion for other relief [1395822−2]
                 [Service Date: 10/04/2012 by US Mail] Pages: 11−15. [12−1341] (Sandberg, Jeffrey) [Entered:
                 10/04/2012 12:53 PM]
10/04/2012       MOTION filed [1398119] by PRC for summary affirmance. (Response to Motion served by mail due on
                 10/18/2012) [Service Date: 10/04/2012 by US Mail] Pages: 1−10. [12−1341] (Sandberg, Jeffrey)
                 [Entered: 10/04/2012 12:57 PM]
10/18/2012       MOTION filed [1400587] by Ramon Lopez to extend time to file response and reply (Response to
                 Motion served by mail due on 11/01/2012) [Service Date: 10/19/2012 by CM/ECF NDA, Clerk] Pages:
                 1−10. [12−1341] [Entered: 10/19/2012 12:54 PM]




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11/01/2012       CLERK'S ORDER filed [1402639] granting motion to extend time [1400587−2]; response to motion for
                 summary affirmance [1398119−2] now due on 12/03/2012; reply in support of motion for other relief
                 [1395822−2] now due 12/03/2012, Failure to respond shall result in dismissal of the case for lack of
                 prosecution. The Clerk is directed to send this order to petitioner by whatever means necessary to ensure
                 receipt. [12−1341] [Entered: 11/01/2012 03:32 PM]
11/02/2012       LETTER SENT [1402897] to warden sending Clerk order [1402639−3] . Prisoner acknowledgment of
                 receipt from Warden due 12/03/2012 [12−1341] [Entered: 11/02/2012 01:11 PM]
11/13/2012       REPLY FILED [1405200] by Ramon Lopez to response [1398118−2] [Service Date: 11/06/2012 by US
                 Mail] Pages: 1−10. [12−1341] [Entered: 11/15/2012 11:48 AM]
11/29/2012       RESPONSE IN OPPOSITION FILED [1407705] to motion for summary affirmance
                 [1398119−2](Reply to Response by Mail and Response to Cross Motion due on 12/06/2012) combined
                 with a MOTION FILED by Ramon Lopez for summary reversal [Service Date: 11/23/2012 by US Mail]
                 Pages: 1−10. [12−1341] [Entered: 11/30/2012 03:30 PM]
12/03/2012       MOTION filed [1407930] by PRC to extend time to file reply to 12/13/2012. (Response to Motion
                 served by mail due on 12/17/2012) [Service Date: 12/03/2012 by US Mail] Pages: 1−10. [12−1341]
                 (Sandberg, Jeffrey) [Entered: 12/03/2012 01:38 PM]
12/05/2012       CLERK'S ORDER filed [1408414] granting motion to extend time [1407930−2]; reply to response to
                 motion for summary affirmance [1398119−2] and response to cross−motion for summary reversal due
                 on 12/13/2012 [12−1341] [Entered: 12/05/2012 02:07 PM]
12/07/2012       RECEIPT [1409599] RECEIVED from Ramon Lopez [signed for on 11/13/2012] for documents
                 [1402897−2] sent to Petitioner Ramon Lopez [12−1341] [Entered: 12/12/2012 11:44 AM]
12/13/2012       REPLY FILED [1409923] by PRC to Response and RESPONSE FILED to Cross Motion
                 [1407705−2],[1407705−3](Reply to Response by Mail to Cross Motion due on 12/26/2012) [Service
                 Date: 12/13/2012 by US Mail] Pages: 1−10. [12−1341] (Sandberg, Jeffrey) [Entered: 12/13/2012 01:45
                 PM]
01/02/2013       MOTION filed [1413702] by Ramon Lopez for leave to file motion (Response to Motion served by mail
                 due on 01/07/2013) [Service Date: 12/23/2012 by US Mail] Pages: 1−10. [12−1341] [Entered:
                 01/07/2013 10:38 AM]
01/02/2013       MODIFIED EVENT FROM FILED TO LODGED−−MOTION LODGED [1413711] by Ramon Lopez
                 to extend time to file surreply (Response to Motion served by mail due on 01/07/2013) [Service Date:
                 12/23/2012 by US Mail] Pages: 1−10. [12−1341]−−[Edited 01/07/2013 by AY] [Entered: 01/07/2013
                 10:49 AM]
01/15/2013       MOTION filed [1415817] by Ramon Lopez for leave to file reply (Response to Motion served by mail
                 due on 01/31/2013) [Service Date: 01/17/2013 by CM/ECF NDA, Clerk] Pages: 1−10. [12−1341]
                 [Entered: 01/17/2013 01:21 PM]
01/15/2013       REPLY (styled as "Petitioner's Sur Reply (sic) and Opposition to Respondent's Reply in Support of its
                 own Motion for Summary Disposition...") FILED [1415818] by Ramon Lopez to response [1409923−2]
                 [Service Date: 01/17/2013 by Clerk, CM/ECF NDA] Pages: 1−10. [12−1341] [Entered: 01/17/2013
                 01:28 PM]
01/17/2013       CLERK'S ORDER filed [1415895] granting motions for leave to file [1413702−2], [1415817−2]; the
                 Clerk is directed to file motion to extend time [1413711−2]; granting motion to extend time
                 [1413711−2]. The reply in support of the motion for summary reversal is deemed timely filed.
                 [12−1341] [Entered: 01/17/2013 03:12 PM]
01/17/2013       PER ABOVE ORDER lodged motion to extend time [1413711−2] is filed [12−1341] [Entered:
                 01/17/2013 03:18 PM]

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03/12/2013       PER CURIAM ORDER filed [1424814] holding case in abeyance. Case 12−1341 held in abeyance
                 pending resolution of the motion to stay collection of fees filed in No. 10−5059, Pinson v. Samuels.
                 Motions to govern future proceedings due 30 days after resolution of the motion to stay collection of
                 fees. Before Judges: Henderson, Griffith and Kavanaugh. [12−1341] [Entered: 03/12/2013 01:53 PM]
08/06/2014       NOTICE FILED [1506518] by PRC to withdraw attorney Stephen Leo Sharfman who represented PRC
                 in 12−1341 [Service Date: 08/06/2014 ] [12−1341] (Sandberg, Jeffrey) [Entered: 08/06/2014 05:47 PM]
08/06/2014       ENTRY OF APPEARANCE filed [1506519] by David A. Trissell and Robert N. Sidman on behalf of
                 Respondent PRC. [12−1341] (Sandberg, Jeffrey) [Entered: 08/06/2014 05:48 PM]
08/11/2014       CLERK'S ORDER filed [1507055] removing case from abeyance; directing party to file motions to
                 govern future proceedings by 09/10/2014 [12−1341] [Entered: 08/11/2014 02:45 PM]
08/11/2014       LETTER SENT [1507057] to warden sending Clerk order to govern future proceedings[1507055−3].
                 Prisoner acknowledgment of receipt from Warden due 09/10/2014 [12−1341] [Entered: 08/11/2014
                 02:49 PM]
09/02/2014       RECEIPT [1510575] RECEIVED from Illegible [signed for on 04/27/2014] for documents [1507055−3]
                 sent to Petitioner Ramon Lopez [12−1341] [Entered: 09/04/2014 10:16 AM]
09/10/2014       MOTION filed [1511505] by PRC to govern future proceedings. (Response to Motion served by mail
                 due on 09/25/2014) [Service Date: 09/10/2014 by US Mail] Pages: 1−10. [12−1341] (Sandberg, Jeffrey)
                 [Entered: 09/10/2014 01:35 PM]
09/15/2014       MOTION filed [1512582] by Ramon Lopez to govern future proceedings. (Response to Motion served
                 by mail due on 09/22/2014) [Service Date: 09/08/2014 by US Mail] Pages: 1−10. [12−1341] [Entered:
                 09/17/2014 08:40 AM]
11/18/2014       PER CURIAM ORDER filed [1523027] ORDERED, on the court’s own motion, that petitioner show
                 cause, within 30 days of the date of this order, why this case should not be transferred to the United
                 States District Court for the District of Columbia, see 28 U.S.C. § 1631, because it appears to arise under
                 the Federal Tort Claims Act, over which the district courts have exclusive jurisdiction, see 28 U.S.C. §
                 1346(b)(1). The response to the order to show cause may not exceed 20 pages. Respondent’s response to
                 petitioner’s filing, not to exceed 20 pages, is due within 30 days of the date on which petitioner’s
                 response is filed. Any reply from petitioner, not to exceed 10 pages, is due within 15 days of the date on
                 which respondent’s response is filed. FURTHER ORDERED, on the court's own motion, that
                 consideration of the parties' motion be deferred pending further order of the court. Before Judges:
                 Rogers, Kavanaugh and Pillard. [Response to Order due 12/18/2014] [12−1341] [Entered: 11/18/2014
                 03:13 PM]
11/18/2014       LETTER SENT [1523029] to warden sending Special Panel order to show cause why this case should
                 not be transfered [1523027−2] . Prisoner acknowledgment of receipt from Warden due 12/18/2014.
                 [12−1341] [Entered: 11/18/2014 03:15 PM]
01/13/2015       INCORRECT PDF WAS ATTACHED−−CLERK'S ORDER filed [1531604] considering Special Panel
                 order to transfer case [1523027−2]; extending Special Panel order to transfer case to 02/12/2015.
                 Response may not exceed 20 pages. [1523027−2] [12−1341]−−[Edited 01/13/2015 by JJA] [Entered:
                 01/13/2015 09:50 AM]
01/13/2015       LETTER SENT [1531607] to warden sending Clerk order [1531604−2] . Prisoner acknowledgment of
                 receipt from Warden due 02/12/2015. [12−1341] [Entered: 01/13/2015 09:55 AM]
02/02/2015       LETTER FILED [1535687] by Ramon Lopez regarding incomplete service of order [1531604−2],
                 resending the per curiam order filed on November 18, 2014 [1523027−2]. [Service Date: 02/03/2015 ]
                 [12−1341] [Entered: 02/03/2015 03:35 PM]



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02/03/2015       CLERK'S ORDER filed [1535677] Extending time to file response to Special Panel order to show cause
                 why the case should not be transfered [1523027−3]. Response to Order due 03/05/2015. Response may
                 not exceed 20 pages [12−1341] [Entered: 02/03/2015 03:18 PM]
02/03/2015       LETTER SENT [1535681] to warden sending Clerk order [1535677−2] . Prisoner acknowledgment of
                 receipt from Warden due 03/05/2015. [12−1341] [Entered: 02/03/2015 03:21 PM]
02/20/2015       RECEIPT [1538949] RECEIVED from Illegible [signed for on 01/23/2015] for documents [1531604−2]
                 sent to Petitioner Ramon Lopez [12−1341] [Entered: 02/23/2015 01:14 PM]
02/23/2015       RECEIPT [1539160] RECEIVED from Illegible [signed for on 02/11/2015] for document [1535677−2]
                 sent to Petitioner Ramon Lopez [12−1341] [Entered: 02/24/2015 09:08 AM]
03/09/2015       RESPONSE FILED [1541688] by Ramon Lopez to order to show cause [1523027−2] [Service Date:
                 03/11/2015 by CM/ECF NDA, Clerk] Pages: 1−10. [12−1341] [Entered: 03/11/2015 09:32 AM]
04/09/2015       RESPONSE FILED [1546647] by PRC to order [1523027−2],[1523027−3] [Service Date: 04/09/2015
                 by US Mail] Pages: 11−15. [12−1341] (Sandberg, Jeffrey) [Entered: 04/09/2015 07:13 PM]
04/27/2015       MOTION filed [1549655] by Ramon Lopez to extend time to file motion for extension of time.
                 (Response to Motion served by mail due on 05/04/2015) [Service Date: 04/21/2015 by US Mail] Pages:
                 1−10. [12−1341] [Entered: 04/29/2015 09:36 AM]
04/27/2015       MOTION filed [1549656] by Ramon Lopez to extend time to file response (Response to Motion served
                 by mail due on 05/04/2015) [Service Date: 04/21/2015 by US Mail] Pages: 1−10. [12−1341]−−[Edited
                 04/29/2015 by JJA] [Entered: 04/29/2015 09:37 AM]
05/15/2015       REPLY FILED [1553349] by Ramon Lopez to response [1546647−2] [Service Date: 05/20/2015 by
                 CM/ECF NDA, Clerk] Pages: 1−10. [12−1341]−−[Edited 05/20/2015 by JJA] [Entered: 05/20/2015
                 11:47 AM]
05/15/2015       MOTION filed [1553351] by Ramon Lopez for leave to file response (Response to Motion served by
                 mail due on 06/04/2015) [Service Date: 05/20/2015 by Clerk, CM/ECF NDA] Pages: 1−10. [12−1341]
                 [Entered: 05/20/2015 11:48 AM]
05/19/2015       NOTICE FILED [1553246] by PRC to withdraw attorney Robert Noah Sidman who represented PRC in
                 12−1341 [Service Date: 05/19/2015 ] [12−1341] (Sandberg, Jeffrey) [Entered: 05/19/2015 04:21 PM]
05/20/2015       CLERK'S ORDER filed [1553385] granting motion to extend time [1549655−2], granting motion to
                 extend time [1549656−2]; the Clerk is directed to file motion to extend time [1549656−2]; granting
                 motion for leave to file [1553351−2]; the Clerk is directed to file reply [1553349−2] [12−1341]
                 [Entered: 05/20/2015 01:41 PM]
05/20/2015       PER ABOVE ORDER lodged motion to extend time [1549656−2] is filed [12−1341] [Entered:
                 05/20/2015 01:46 PM]
05/20/2015       PER ABOVE ORDER lodged reply [1553349−2] is filed [12−1341] [Entered: 05/20/2015 01:46 PM]

06/22/2015       CLERK'S ORDER filed [1558844] It is ORDERED, on the court’s own motion, that petitioner show
                 cause, within 30 days of the date of this order, why this case should not be held in abeyance pending the
                 Supreme Court’s resolution of No. 14−844, Bruce v. Samuels, cert. granted, Jun. 15, 2015. Respondent
                 is direct to respond to petitioner’s response within 30 days. The responses may not exceed ten pages
                 apiece. The Clerk is directed to send a copy of this order to petitioner by whatever means necessary to
                 ensure receipt. [12−1341] [Entered: 06/22/2015 10:56 AM]
06/22/2015       LETTER SENT [1558849] to warden sending clerk order [1558844−3] . Prisoner acknowledgment of
                 receipt from Warden due 07/22/2015. [12−1341] [Entered: 06/22/2015 10:58 AM]



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07/29/2015       CLERK'S ORDER filed [1565227] ORDERED that the Clerk resend to petitioner the court's order filed
                 June 22, 2015, and that the deadlines established therein are extended to August 31, 2015. The Clerk is
                 directed to send this order to petitioner by whatever means necessary to ensure receipt.
                 [12−1341]−−[Edited 07/29/2015 by JJA] [Entered: 07/29/2015 01:49 PM]
07/29/2015       LETTER SENT [1565228] to warden sending Clerk order order by warden letter[1565227−2] . Prisoner
                 acknowledgment of receipt from Warden due 08/28/2015. [12−1341] [Entered: 07/29/2015 01:55 PM]
08/21/2015       RECEIPT [1569536] RECEIVED from Illegible [signed for on 08/11/2015] for documents [1565227−2]
                 sent to Petitioner Ramon Lopez [12−1341] [Entered: 08/25/2015 09:59 AM]
08/31/2015       RESPONSE [1571405] filed by Ramon Lopez to order to show cause [1565227−3] [Service Date:
                 09/03/2015 by CM/ECF NDA] Pages: 1−10. [12−1341] [Entered: 09/03/2015 03:16 PM]
09/18/2015       RESPONSE [1573812] filed by PRC to order [1558844−3],[1558844−2] [Service Date: 09/18/2015 by
                 US Mail] Pages: 1−10. [12−1341] (Sandberg, Jeffrey) [Entered: 09/18/2015 12:58 PM]
11/04/2015       CLERK'S ORDER [1582002] discharging order to show cause [1558844−3]. It is FURTHER
                 ORDERED, on the court’s own motion, that this case be held in abeyance pending the Supreme Court’s
                 resolution of Bruce v. Samuels, No. 14−844 (argued Nov. 4, 2015). The parties are directed to file
                 motions to govern further proceedings herein within 30 days of the Supreme Court’s decision in that
                 case. The Clerk is directed to send a copy of this order to petitioner by whatever means necessary to
                 ensure receipt. [12−1341] [Entered: 11/04/2015 04:24 PM]
11/04/2015       LETTER [1582003] sent to warden sending clerk order [1582002−4] . Prisoner acknowledgment of
                 receipt from Warden due 12/04/2015. [12−1341] [Entered: 11/04/2015 04:27 PM]
12/14/2015       RECEIPT [1588950] received from Illegible [signed for on 11/13/2015] for documents [1582002−3]
                 sent to Petitioner Ramon Lopez [12−1341] [Entered: 12/16/2015 12:48 PM]
02/05/2016       MOTION [1597470] filed by PRC to govern future proceedings. (Response to Motion served by mail
                 due on 02/19/2016) [Service Date: 02/05/2016 by US Mail] Pages: 1−10. [12−1341] (Sandberg, Jeffrey)
                 [Entered: 02/05/2016 01:15 PM]
02/16/2016       MOTION [1600053] filed by Ramon Lopez to govern future proceedings. (Response to Motion served
                 by mail due on 03/07/2016) [Service Date: 02/22/2016 by Clerk, CM/ECF NDA] Pages: 1−10.
                 [12−1341] [Entered: 02/22/2016 02:01 PM]
04/28/2016       CLERK'S ORDER [1610853] filed granting motion to withdraw the September 17, 2012 motion for
                 leave to pay the filing fees in sequential mode. [12−1341] [Entered: 04/28/2016 11:51 AM]
07/07/2016       PER CURIAM ORDER [1623518] discharging order to show cause [1523027−3]; granting motion to
                 proceed ifp [1395825−2]; denying motions for summary disposition [1398119−2] [1407705−2];
                 referring motion to supplement the record [1597470−2] to the merits panel to which this case is
                 assigned. It is FURTHER ORDERED, on the court’s own motion, that Brooks R. Brown, a member of
                 the bar of this court, be appointed to present arguments in favor of petitioner’s position. Before Judges:
                 Rogers, Kavanaugh and Wilkins. [12−1341] [Entered: 07/07/2016 12:29 PM]
07/07/2016       PER CURIAM ORDER [1623519] assessing docketing fee of $450.00 (see order for payment details).
                 The Clerk is directed to send a copy of this order to petitioner by whatever means necessary to ensure
                 receipt. The Clerk is further directed to send to petitioner’s custodian a copy of this order and
                 petitioner’s consent to collection of fees. Before Judges: Rogers, Kavanaugh and Wilkins. [12−1341]
                 [Entered: 07/07/2016 12:33 PM]
07/07/2016       LETTER [1623520] sent to warden sending Special Panel Orders [1623519−4] [1623518−3]. Prisoner
                 acknowledgment of receipt from Warden due 08/08/2016. [12−1341] [Entered: 07/07/2016 12:44 PM]
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                 ENTRY OF APPEARANCE [1623682] filed by Brooks R. Brown and co−counsel Brian Burgess on
                 behalf of Appointed Amicus Curiae for Petitioner Mr. Brooks R. Brown. [12−1341] (Brown, Brooks)
                 [Entered: 07/08/2016 09:24 AM]
07/20/2016       RECEIPT [1626392] received from Ramon Lopez [signed for on 07/12/2016] for documents
                 [1626270−2] sent to Petitioner Ramon Lopez [12−1341] [Entered: 07/22/2016 10:42 AM]
07/21/2016       CLERK'S ORDER [1626267] filed setting briefing schedule: PETITIONER Brief due 10/19/2016.
                 APPENDIX due 10/19/2016. AMICUS FOR PETITIONER Brief due 10/19/2016. RESPONDENT
                 Brief due on 11/18/2016. PETITIONER Reply Brief due 12/02/2016. AMICUS FOR PETITIONER
                 Reply Brief due 12/02/2016 [12−1341] [Entered: 07/21/2016 03:30 PM]
07/21/2016       LETTER [1626270] sent to warden sending Clerk briefing order [1626267−3]. Prisoner
                 acknowledgment of receipt from Warden due 08/22/2016. [12−1341] [Entered: 07/21/2016 03:35 PM]
08/09/2016       RECEIPT [1630397] received from Illegible [signed for on 08/02/2016] for documents [1626270−2]
                 sent to Petitioner Ramon Lopez [12−1341] [Entered: 08/15/2016 01:38 PM]
10/19/2016       AMICUS FOR PETITIONER BRIEF [1641826] filed by Mr. Brooks R. Brown [Service Date:
                 10/19/2016 ] Length of Brief: 9,842 Words. [12−1341] (Burgess, Brian) [Entered: 10/19/2016 05:03
                 PM]
10/19/2016       APPENDIX [1641830] filed by Mr. Brooks R. Brown. [Volumes: 1] [Service Date: 10/19/2016 ]
                 [12−1341] (Burgess, Brian) [Entered: 10/19/2016 05:36 PM]
10/20/2016       NOTICE [1642247] filed filed by Ramon Lopez [Service Date: 10/21/2016 ] [12−1341] [Entered:
                 10/21/2016 02:30 PM]
11/04/2016       MOTION [1644679] filed to extend time to file brief to 12/19/2016. (Response to Motion served by mail
                 due on 11/17/2016) filed by PRC [Service Date: 11/04/2016 by CM/ECF NDA, US Mail] Pages: 1−10.
                 [12−1341] (Sandberg, Jeffrey) [Entered: 11/04/2016 06:21 PM]
11/08/2016       CLERK'S ORDER [1645166] filed granting respondent's motion for a thirty day extension of time to file
                 response brief [1644679−2], The following revised briefing schedule will now apply: RESPONDENT
                 Brief due on 12/19/2016. PETITIONER Reply Brief due 01/03/2017. AMICUS FOR PETITIONER
                 Reply Brief due 01/03/2017 [12−1341] [Entered: 11/08/2016 05:25 PM]
11/08/2016       LETTER [1645167] sent to warden sending Clerk order [1645166−3]. Prisoner acknowledgment of
                 receipt from Warden due 12/08/2016. [12−1341] [Entered: 11/08/2016 05:27 PM]
11/17/2016       MOTION [1646612] filed to extend time to file brief to 01/10/2017 at 11:59 pm. (Response to Motion
                 served by mail due on 12/01/2016) filed by Mr. Brooks R. Brown [Service Date: 11/17/2016 by
                 CM/ECF NDA, US Mail] Pages: 1−10. [12−1341] (Burgess, Brian) [Entered: 11/17/2016 12:01 PM]
11/18/2016       CLERK'S ORDER [1646954] filed granting the motion of court−appinted amicus curiae to extend time
                 to file the reply brief [1646612−2], The following revised briefing schedule will now apply:
                 RESPONDENT Brief due on 12/19/2016. PETITIONER Reply Brief due 01/10/2017. AMICUS FOR
                 PETITIONER Reply Brief due 01/10/2017 [12−1341] [Entered: 11/18/2016 04:22 PM]
11/18/2016       LETTER [1646955] sent to warden sending Clerk order [1646954−3]. Prisoner acknowledgment of
                 receipt from Warden due 12/19/2016. [12−1341] [Entered: 11/18/2016 04:28 PM]
12/15/2016       RECEIPT [1651642] received from Ramon Lopez [signed for on 11/21/2016] for documents
                 [1646955−2] sent to Petitioner Ramon Lopez [12−1341] [Entered: 12/19/2016 02:39 PM]
12/16/2016       LETTER [1651397] filed providing notice of the filing of a corrected opening brief filed by Mr. Brooks
                 R. Brown [Service Date: 12/16/2016 ] [12−1341] (Burgess, Brian) [Entered: 12/16/2016 12:47 PM]



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12/16/2016       INCORRECT DOCKET ENTRY−DISREGARD−−ERRATA [1651401] filed by Mr. Brooks R. Brown
                 to Amicus brief [1641826−2]. Reason for errata: formatting error. [Service Date: 12/16/2016 ]
                 [12−1341]−−[Edited 12/16/2016 by JJA] (Burgess, Brian) [Entered: 12/16/2016 01:15 PM]
12/16/2016       CORRECTED AMICUS FOR PETITIONER BRIEF [1651460] filed by Mr. Brooks R. Brown [Service
                 Date: 12/16/2016 ] Length of Brief: 9,842. [12−1341] (Burgess, Brian) [Entered: 12/16/2016 05:18 PM]
12/19/2016       RESPONDENT BRIEF [1651722] filed by PRC [Service Date: 12/19/2016 ] Length of Brief: 10,683
                 words. [12−1341] (Sandberg, Jeffrey) [Entered: 12/19/2016 10:48 PM]
01/10/2017       AMICUS FOR PETITIONER REPLY BRIEF [1655089] filed by Mr. Brooks R. Brown [Service Date:
                 01/10/2017 ] Length of Brief: 6,324 Words. [12−1341] (Brown, Brooks) [Entered: 01/10/2017 05:16
                 PM]
01/13/2017       RECEIPT [1656714] received from Illegible [signed for on 12/15/2016] for documents [1646955−2]
                 sent to Petitioner Ramon Lopez [12−1341] [Entered: 01/23/2017 11:15 AM]
01/17/2017       MOTION [1656752] to extend time to file motion (Response to Motion served by mail due on
                 02/02/2017) filed by Ramon Lopez (Service Date: 01/23/2017 by Clerk, CM/ECF NDA) Length
                 Certification: 2 pages. [12−1341] [Entered: 01/23/2017 11:44 AM]
01/17/2017       MOTION [1656753] to extend time to file brief (Response to Motion served by mail due on 02/02/2017)
                 filed by Ramon Lopez (Service Date: 01/23/2017 by Clerk, CM/ECF NDA) Length Certification: 2
                 pages. [12−1341] [Entered: 01/23/2017 11:45 AM]
01/26/2017       CLERK'S ORDER [1657605] filed granting pro se petitioner's motion for leave to file a motion for
                 extension of time to file reply brief or temporary stay [1656752−2], The Clerk is directed to file the
                 lodged motion to extend time [1656753−2], granting pro se petitioner's motion for enlargement of time
                 to file reply brief or for temporary stay. setting briefing schedule: PETITIONER Reply Brief due
                 03/13/2017 [12−1341] [Entered: 01/26/2017 12:12 PM]
01/26/2017       LETTER [1657613] sent to warden sending Clerk order [1657605−3]. Prisoner acknowledgment of
                 receipt from Warden due 02/27/2017. [12−1341] [Entered: 01/26/2017 12:27 PM]
02/02/2017       MOTION [1659466] for leave to file brief (Response to Motion served by mail due on 02/08/2017) filed
                 by Ramon Lopez (Service Date: 01/29/2017 by CM/ECF NDA, Clerk) Length Certification: 2 pages.
                 [12−1341] [Entered: 02/06/2017 09:30 AM]
02/02/2017       MODIFIED EVENT FROM FILED TO LODGED−−PETITIONER REPLY BRIEF [1659468] filed by
                 Ramon Lopez [Service Date: 01/29/2017 ] Length of Brief: 14 pages. [12−1341]−−[Edited 02/06/2017
                 by JJA] [Entered: 02/06/2017 09:33 AM]
02/06/2017       CLERK'S ORDER [1659724] filed granting pro se petitioner's motion for leave to file pro se petitioner's
                 reply brief three days out of time [1659466−2]; The Clerk is directed to file pro se petitioner's lodged
                 reply brief [1659468−2] [12−1341] [Entered: 02/06/2017 04:41 PM]
02/06/2017       PER ABOVE ORDER lodged Appellant/Petitioner reply brief [1659468−2] is filed [12−1341] [Entered:
                 02/06/2017 04:43 PM]
03/03/2017       RECEIPT [1664692] received from Ramon Lopez [signed for on 02/09/2017] for documents
                 [1657613−2] sent to Petitioner Ramon Lopez [12−1341] [Entered: 03/07/2017 10:45 AM]
08/14/2017       CLERK'S ORDER [1688594] filed scheduling oral argument on Tuesday, 10/03/2017. [12−1341]
                 [Entered: 08/14/2017 12:24 PM]
09/15/2017       ENTRY OF APPEARANCE [1693270] filed by Sonia K. McNeil on behalf of Respondent PRC.
                 [12−1341] (Carson, Sonia) [Entered: 09/15/2017 04:41 PM]



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09/19/2017       PER CURIAM ORDER [1693554] filed allocating oral argument time as follows: Appointed Amicus
                 Curiae for Petitioner − 10 Minutes, Respondent − 10 Minutes. One counsel per side to argue; directing
                 party to file Form 72 notice of arguing attorney by 09/26/2017 [12−1341] [Entered: 09/19/2017 12:35
                 PM]
09/21/2017       FORM 72 submitted by arguing attorney, Brian T. Burgess, on behalf of Appointed Amicus Curiae for
                 Petitioner Mr. Brooks R. Brown (For Internal Use Only: Form is restricted to protect counsel's personal
                 contact information). [12−1341] (Burgess, Brian) [Entered: 09/21/2017 02:40 PM]
09/25/2017       FORM 72 submitted by arguing attorney, Sonia K. McNeil, on behalf of Respondent PRC (For Internal
                 Use Only: Form is restricted to protect counsel's personal contact information). [12−1341] (Carson,
                 Sonia) [Entered: 09/25/2017 10:02 AM]
10/03/2017       ORAL ARGUMENT HELD before Judges Rogers, Kavanaugh and Wilkins. [12−1341] [Entered:
                 10/03/2017 10:48 AM]
12/11/2017       PER CURIAM JUDGMENT [1708365] filed (without memorandum) that Lopez's petition for an order
                 directing the Postal Service to restore mail service to Lopezs address be dismissed as moot and his
                 damages claim be transferred to the District Court for the Southern District of Florida. (SEE
                 JUDGMENT FOR DETAILS). Before Judges: Rogers, Kavanaugh and Wilkins. [12−1341] [Entered:
                 12/11/2017 03:33 PM]




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